                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

JANE DOE                                          §
     Plaintiff                                    §
                                                  §
VS.                                               § CIVIL ACTION NO. 7:19-CV-00309
                                                  § (JURY REQUESTED)
                                                  §
EDINBURG CONSOLIDATED                             §
INDEPENDENT SCHOOL DISTRICT                       §
     Defendant                                    §

DEFENDANT EDINBURG CONSOLIDATED INDEPENDENT SCHOOL DISTRICT’S
      RESPONSE TO PLAINTIFF’S MOTION TO COMPEL DEFENDANT
 TO RESPOND TO FIRST SET OF INTERROGATORIES, FIRST REQUESTS FOR
        PRODUCTION AND SECOND REQUESTS FOR PRODUCTION



TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, EDINBURG CONSOLIDATED INDEPENDENT SCHOOL

DISTRICT, Defendant in the above-styled and numbered cause, and files this its Response to

Plaintiff’s Motion to Compel and would respectfully show the Court the following:

                                 I.
     DEFENDANT HAS PRODUCED RESPONSIVE INFORMATION TO PLAINTIFF


1.     Plaintiff’s motion asserts that Defendant responded to Plaintiff’s discovery requests with

improper objections, has refused to produce documents and/or responded with incomplete and

inadequate answers. This assertion implies that Defendant is being obstructive to the discovery

process in an improper manner. To the contrary, Defendant has been very forthcoming with

relevant responsive information as requested.

2.     Plaintiff served Defendant with twenty four interrogatories sent in two different sets.

Defendant lodged only four objections out of the twenty four interrogatories and each of these four


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objections actually included a response made subject to the objection. (Please See Exhibits A and

B).     Defendant also supplemented its responses to two interrogatories that Defendant had not

objected to providing additional information to Plaintiff. (Please See Exhibit C). Plaintiff may

disagree with Defendant’s responses and wish to alter them, but they were done properly.


3.       Plaintiff served Defendant with twenty eight requests for production through two separate

sets.    In response, Defendant produced videos and two hundred and fifty seven pages of

information that include the following:

         a) all video footage in the possession of the Defendant/Defendant’s Police Department

         contained in such files (two separate recordings from inside school premises);

         b) training videos used by Defendant regarding training on harassment and discrimination;

         c) the personnel file of Francisco Badillo (teacher arrested for the relationship with

         Plaintiff);

         d) the complete Edinburg CISD Police Department investigative file which included:

                 HIDALGO COUNTY DISTRICT ATTORNEY'S OFFICE SUPPLEMENT AND
                 CASE SUMMARY REPORT

                 CAMPUS POLICE OFFICER BELINDA ANZALDUA'S PRELIMINARY
                 OFFENSE REPORT

                 CAMPUS POLICE OFFICER MICHAEL MEDRANO'S SUPPLEMENTAL
                 REPORT

                 EYEWITNESS STATEMENT FROM CAMPUS CAMERA MONITOR DAVID
                 OLIVAREZ

                 EYEWITNESS STATEMENT FROM ASSISTANT PRINCIPAL ROSA MARIA
                 BERNAL

                 EYEWITNESS       STATEMENT          FROM     SCHOOL       TEACHER        ALYSSA
                 RAMIREZ

                 EYEWITNESS STATEMENT FROM SCHOOL TEACHER NOEMI VELA


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       EYEWITNESS STATEMENT FROM SCHOOL CUSTODIAN JESUS ANGEL
       SANCHEZ

       EYEWITNESS STATEMENT FROM PARENT OF JANE DOE

       EYEWITNESS STATEMENT FROM VICTIM (MINOR) JANE DOE

       EYEWITNESS STATEMENT FROM (MINOR) WITNESS

       EYEWITNESS STATEMENT FROM ALEJANDRO FRANCO

       EYEWITNESS STATEMENT FROM MARY ANN BADILLO

       EVIDENCE PHOTOS OF CLASSROOM #721 AND "PREP" ROOM

       VICTIM'S SKETCH OF CRIME SCENE (RESIDENCE INTERIOR DRAWING)

       EVIDENCE PHOTOS OF INTERIOR AND EXTERIOR OF RESIDENCE IN
       EDINBURG, TEXAS

       CONSENT TO SEARCH and SEARCH WARRANTS

       SUPECT'S ARRAIGNMENI' FORMS

       MAGISTRATE WARNINGS FOR SUSPECT BADILLO

       PROBABLE CAUSE STATEMENT FOR SUSPECT BADILLO

       WARRANT OF ARREST FOR SUSPECT BADILLO

       SUSPECT BADILLO’S PHOTOGRAPH

       HIDALGO COUNTY SHERIFF’S DEPARTMENT BOOKING SHEET RE:
       BADILLO

e) Duty chart in response to request for documents that would indicate who was supposed
to supervise Francisco Coronado Badillo;

f) Academic record of Jane Doe;

g) Job Description as requested;

h) Training documentation;

i) Employee Handbook for 2016-2017 including all policies related to student welfare,
harassment, child abuse, neglect;


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       k) Edinburg CISD Police Department Records regarding investigation into complaint
       made against F. Badillo in April 2017;

       l) Affidavit of F. Badillo dated April 19, 2017; and

       m) Affidavit of minor dated April 24, 2017 regarding investigation into complaint made
       by her against F. Badillo in April 2017.

Out of the twenty eight separate requests for production, Defendant lodged twelve objections, ten

of which relate to Plaintiff’s requests for personnel files. (Please see Exhibits D, E and F).


4.     Plaintiff files this motion to compel in opposition to Defendant’s objections to the

production of ten personnel files that are not related to the investigation conducted by the school

District or the complaint made by the minor plaintiff (all investigation files were produced without

objection), records of a completely unrelated instance of a teacher-student relationship from 2013

involving a different minor and a different employee, and a request for other complaints of sexual

abuse that would not involve this plaintiff or the accused teacher in question.

5.     The substance of Defendant’s objections to the production of these matters involve plaintiff

attempting to seek information that is irrelevant and not reasonably calculated to lead to the

discovery of admissible evidence and with respect to the personnel files, seeks to invade the

personal privacy rights of Defendant’s employees or former employees. Plaintiff asserts causes of

action under Title IX and under the 14th Amendment. Defendant has produced substantial relevant

information with regards to these claims without objection. The items plaintiff attempts to compel

are not relevant to what plaintiff must establish to prevail on these causes of action as they are

unrelated to the minor plaintiff and the employee who was arrested for the relationship in question.

                                               II.
                                             PRAYER

6.     WHEREFORE, PREMISES CONSIDERED, Defendant EDINBURG CONSOLIDATED

INDEPENDENT SCHOOL DISTRICT respectfully prays that the Court sustain Defendant’s

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objections at issue and deny Plaintiff’s Motion to Compel. Defendant additionally seeks such

other and further relief to which it may be entitled to, either at law or in equity.


Signed on May 22, 2020.

                                               Respectfully submitted,

                                               ESPARZA & GARZA, L.L.P.
                                               964 E. Los Ebanos Blvd.
                                               Brownsville, Texas 78520
                                               Telephone:    (956) 547-7775
                                               Facsimile:    (956) 547-7773

                                               By: /s/ Eduardo G Garza
                                                       Eduardo G Garza
                                                       State Bar No. 00796609
                                                       USDC ADM. No. 20916
                                                       Roman ADino@ Esparza
                                                       State Bar No. 00795337
                                                       USDC ADM. No. 22703
                                               ATTORNEYS FOR DEFENDANT

                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2020, pursuant to the Federal Rules of Civil Procedure, a
true and correct copy of the above and foregoing document was served on each party to this action
by Defendant’s submission of this document to the U.S. District Court electronically to the DCECF
system:

                                               /s/ Eduardo G Garza
                                                   Eduardo G Garza




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